Case 3:19-cr-00083-S Document 35 Filed 03/28/19 Page 1 of 3 Page|D 79

IN THE UNITED STA'I'ES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNI'I`ED STATES OF AMERICA §
§

v. § CASE NO.: 3:19-CR-83-S
§

CAROLYN RENA DAVIS (oz) §

MOTION TO WITHDRAW AS COUNSEL
TO THE HONORABLE ]UDGE:
COMES NOW, Scottie D. Allen, attorney of record for CAROLYN RENA DAVIS, the
defendant in the above-entitled and numbered cause, and moves the Honorable Court to
enter an order permitting him to Withdraw as counsel of record, and in support of this

motion shows:

I.
The Defendant CAROLYN RENA DAVIS has retained Heath Harris to represent her

in this cause and consents to this Withdrawal.

II.
Moreover, Counsel Will further Show this Honorable Court that this motion is not
made for the purposes of delay but, on that justice may be done.
WHEREFORE PREMISES CONSIDERED, based on the aforementioned movant

prays this the Court grant this motion and order that attorney, Scottie D. Allen, be released

as counsel of record in this cause.

Case 3:19-cr-00083-S Document 35 Filed 03/28/19 Page 2 of 3 Page|D 80

Respectfully submitted,

THE ALLEN LAW FIRM

650 Uptown Tower

4144 North Central Expressway
Dallas, Texas 75204
Telephone: 214.824.7711
Facsirnile: 214.824.7714

By: /S/ Scottie D. Allen
Scottie D. Allen
State Bar Nurnber: 0105802.0
Email: scottiedallen@scottiedallenlaw.com

Attorney for Defendant
CAROLYN RENA DAVIS

CONSENT OF CLIENT
The undersigned, CAROLYN RENA DAVIS, acknowledges that she is the Defendant

in this case and has read the foregoing motion to Withdraw and consents to same.

M was

CAROLU RENA DAVIS
Defendant

Sworn and Subscribed before me this 1289/h day of i\/\( :\YC l/\ 2-© l q

, M‘?, Notary Public
STATE OF TEXAS
lD#124439560

Nota§ Public

 

 

CERTIFICATE OF SERVICE

l hereby certify that on this 28th day of March 2019, l electronically filed the foregoing
document with the clerk for the U.S. District Court, Northern District of TeXas, using the
electronic case filing system Of the Court including Marcus Bush, the AUSA handling this
case and have had this motion forwarded to him.

/S/ Scottie D. Allen
Scottie D. Allen

Case 3:19-cr-00083-S Document 35 Filed 03/28/19 Page 3 of 3 Page|D 81

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

DALLAS DIVISION
UNITED STATES OF AMERICA §
v. § CASE NO.: 3:19-CR-83-S
CAROL RENA DAVIS (oz) §
M
On this the day of , 2019 came on to be heard

the Defendant’s Motion to Withdraw in the above-entitled and numbered cause, and the
Court having heard and considered said Motion, was of the opinion that such Motion

should be GRANTED.

IT IS THEREFORE ORDERED, AD]UDGED and DECREED that the clerk remove

the name of Scottie D. Allen as attorney of record for Defendant.

SIGNED this day of 2019.

 

JUDGE PRESIDING

ORDER - SOLO PAGE

